                                                                    Case 2:21-cv-00332-GMN-EJY Document 104 Filed 09/24/21 Page 1 of 2



                                                                1   JAMES D. BOYLE, ESQ.                        Marquis Aurbach Coffing
                                                                    Nevada Bar No. 08384                        Craig R. Anderson, Esq.
                                                                2   Email: jboyle@nevadafirm.com                Nevada Bar No. 6882
                                                                    JOANNA M. MYERS, ESQ.                       Jared M. Moser, Esq.
                                                                3   Nevada Bar No. 12048                        Nevada Bar No. 13003
                                                                    Email: jmeyers@nevadafirm.com               10001 Park Run Drive
                                                                4   KENDALL LOVELL                              Las Vegas, Nevada 89145
                                                                    Nevada Bar No. 15590                        Telephone: (702) 382-0711
                                                                5   Email: klovell@nevadafirm.com               Facsimile: (702) 382-5816
                                                                    HOLLEY DRIGGS                               canderson@maclaw.com
                                                                6   400 South Fourth Street, Third Floor        jmoser@maclaw.com
                                                                    Las Vegas, Nevada 89101
                                                                7   Telephone: (702) 791-0308                   Law Office of KR Adamo
                                                                    Facsimile: (702) 791-1912                   Kenneth R. Adamo, Esq. (Pro Hac Vice)
                                                                8                                               360 W. Illinois. Apt 620
                                                                    S. Alex Long, Jr. (Pro Hac Vice)            Chicago, IL 60654
                                                                9   Patrick B. Horne (Pro Hac Vice)             Telephone: (312)527-0620
                                                                    Lucas D. Garber (Pro Hac Vice)              kradamo23@gmail.com
                                                               10   Tom BenGera (Pro Hac Vice)                  kenneth@kradamo.com
                                                                    SHUMAKER, LOOP & KENDRICK, LLP
                                                               11   101 South Tryon Street, Suite 2200          Beem Patent Law Firm
MARQUIS AURBACH COFFING




                                                                    Charlotte, North Carolina 28280-0002        Richard P. Beem, Esq. (Pro Hac Vice)
                                                               12   Telephone: (704) 375-0057                   Alex Shtraym, Esq. (Pro Hac Vice)
                          (702) 382-0711 FAX: (702) 382-5816




                                                                    Email: along@shumaker.com                   53 W. Jackson Blvd., Suite 1352
                                                               13           phorne@shumaker.com                 Chicago, IL 60604
                                Las Vegas, Nevada 89145




                                                                            lgarber@shumaker.com                Telephone: (312) 201-0011
                                 10001 Park Run Drive




                                                               14           tbengera@shumaker.com               richard@beemlaw.com
                                                                                                                ashtraym@beemlaw.com
                                                               15   Attorneys for Plaintiff/Counter-Defendant
                                                                    Power Probe Group, Inc.                       Attorneys for Defendant,
                                                               16                                                 Innova Electronics Corporation

                                                               17
                                                                                               UNITED STATES DISTRICT COURT
                                                               18
                                                                                                   DISTRICT OF NEVADA
                                                               19

                                                               20 POWER PROBE GROUP, INC.,                      Case No.: 2:21-cv-00332-GMN-EJY

                                                               21                               Plaintiff,

                                                               22         vs.                                   STIPULATION TO ADMIT INNOVA’S
                                                                                                                   EXHIBITS 2-1 AND 2-2 FROM
                                                               23 INNOVA ELECTRONICS                               PRELIMINARY INJUNCTION
                                                                  CORPORATION,                                            HEARING
                                                               24
                                                                                                Defendant.
                                                               25

                                                               26 AND ALL RELATED CLAIMS.
                                                               27
                                                                     Case 2:21-cv-00332-GMN-EJY Document 104 Filed 09/24/21 Page 2 of 2



                                                                1
                                                                           Defendant Innova Electronics Corporation and Plaintiff Power Probe Group, Inc., by
                                                                2
                                                                    and through their respective attorneys of record, hereby agree and stipulate that Exhibits 2-1
                                                                3
                                                                    and 2-2 (Figures 2 and 4, respectively, of the ‘899 patent), with markings by expert witness
                                                                4
                                                                    Scott Andrews, be admitted into evidence.
                                                                5
                                                                     Dated: September 23, 2021                     Dated: September 23, 2021
                                                                6
                                                                     HOLLEY DRIGGS                                  MARQUIS AURBACH COFFING
                                                                7
                                                                     /s/_Tom BenGera                                By: /s/ Jared Moser
                                                                8    JAMES D. BOYLE, ESQ.                           Craig R. Anderson, Esq.
                                                                     Nevada Bar No. 08384                           Nevada Bar No. 6882
                                                                9    JOANNA M. MYERS, ESQ.                          Jared M. Moser, Esq.
                                                                     Nevada Bar No. 12048                           Nevada Bar No. 13003
                                                               10    400 South Fourth Street, Third Floor           10001 Park Run Drive
                                                                     Las Vegas, Nevada 89101                        Las Vegas, Nevada 89145
                                                               11
MARQUIS AURBACH COFFING




                                                                     S. Alex Long, Jr. (Pro Hac Vice)               LAW OFFICE OF KR ADAMO
                                                               12    Patrick B. Horne (Pro Hac Vice)                Kenneth R. Adamo, Esq. (Pro Hac Vice)
                          (702) 382-0711 FAX: (702) 382-5816




                                                                     Lucas D. Garber (Pro Hac Vice)                 360 W. Illinois. Apt 620
                                                               13    Tom BenGera (Pro Hac Vice)                     Chicago, IL 60654
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                                     SHUMAKER, LOOP & KENDRICK, LLP
                                                               14    101 South Tryon Street, Suite 2200             BEEM PATENT LAW FIRM
                                                                     Charlotte, North Carolina 28280-0002           Richard P. Beem, Esq. (Pro Hac Vice)
                                                               15                                                   Alex Shtraym, Esq. (Pro Hac Vice)
                                                                     Attorneys for Plaintiff Power Probe            53 W. Jackson Blvd., Suite 1352
                                                               16    Group, Inc.                                    Chicago, IL 60604
                                                               17                                                   Attorneys for Defendant,
                                                                                                                    Innova Electronics Corporation
                                                               18
                                                               19
                                                                                                              ORDER
                                                               20

                                                               21

                                                               22                                            IT IS SO ORDERED.

                                                               23                                            Dated this ____
                                                                                                                        24 day of September, 2021.
                                                               24

                                                               25
                                                                                                             ___________________________
                                                               26                                            Gloria M. Navarro, District Judge
                                                               27                                            UNITED STATES DISTRICT COURT
